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                 IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF HAWAI‘I

   OHANA MILITARY COMMUNITIES,                   CIVIL NO. 18-00042 KJM
   LLC and FOREST CITY
   RESIDENTIAL MANAGEMENT,                       MEMORANDUM IN SUPPORT OF
   LLC,                                          MOTION TO SEAL

                      Plaintiffs,

         vs.

   CARA BARBER,

                      Defendant.



                MEMORANDUM IN SUPPORT OF MOTION

   I.    INTRODUCTION

                Plaintiffs Ohana Military Communities, LLC (“Ohana”) and

   Forest City Residential Management, LLC (“FCRM”) (collectively

   “Plaintiffs”) move the Court, ex parte, to file under seal an unredacted

   excerpt of the Settlement Agreement entered into between Plaintiffs and

   Defendant Cara Barber (“Barber”) in February 2016 as well as the portion of

   Plaintiffs’ Motion to Dismiss Barber’s Counterclaim that directly quotes the

   Settlement Agreement. Plaintiffs have simultaneously filed a public,

   redacted version of this motion. As detailed below, good cause and

   compelling reasons exist for sealing the Settlement Agreement.
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   II.   LEGAL STANDARD

                Pursuant to Rule 83.12(a) of the Local Rules of Practice for the

   United States District Court for the District of Hawai‘i, “[a]ny party may

   seek leave to file under seal any pleading, declaration, affidavit, document,

   picture, exhibit, or other matter if it contains confidential, restricted, or

   graphic information and/or images.” This rule requires that motions to file

   under seal include “the applicable standard for sealing the information” and

   a discussion of “how that standard has been met.” L.R. 83.12(b).

                “[C]ourts have recognized a ‘general right to inspect and copy

   public records and documents, including judicial records and documents.’”

   Kamakana v. City & Cnty of Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006)

   (citation omitted). However, a court may seal judicial records when it finds

   a compelling reason exists. Ctr. for Auto Safety v. Chrysler Group, LLC,

   809 F.3d 1092, 1096–97 (9th Cir. 2016). “The court must then

   conscientiously balance the competing interests of the public and the party

   who seeks to keep certain judicial records secret. . . . What constitutes a

   ‘compelling reason’ is best left to the sound discretion of the trial court.”

   Id. (citation, brackets and quotation marks omitted). Further, if the motion

   at issue is more than “tangentially related” to the underlying action, the

   “good cause” standard may apply instead. See id. at 1101 (recognizing that
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   “public access will turn on whether the motion is more than tangentially

   related to the merits of a case.”).

   III.   THE DOCUMENTS SHOULD BE SEALED

                  As set forth below, both good cause and compelling reasons

   exist for sealing the Settlement Agreement and the short portion of the

   motion to dismiss that directly quotes from it.

                  First, because of the nature of the class action claims initially

   alleged in Barber, et al. v. Ohana Military Communities, LLC, et al., CV 14-

   00217 HG-RLP (“Barber I”), a key provision of the settlement agreement

   was that its terms remain confidential. As a result, the parties agreed to a

   strict confidentiality provision. See Ex. 5 ¶ 4; see also Phillips v. Gen.

   Motors Corp., 307 F. 3d 1206, 1212 (9th Cir. 2002) (recognizing that courts

   have granted protective orders to protect confidential settlement

   agreements).

                  Second, confidentiality is especially important in this case

   because Ms. Barber has engaged in a coordinated campaign with her

   attorneys to improperly recruit new plaintiffs for new lawsuits against Ohana

   and FCRM. She has used her social media platforms in furtherance of this

   campaign. See Compl. at ¶¶ 31–52. If the terms of the Settlement

   Agreement are publicly released, it could be used as part of this campaign.
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                Third, Judge Gillmor, Magistrate Judge Puglisi, and Magistrate

   Judge Chang have all found that the Settlement Agreement and documents

   mentioning the Settlement Agreement should be sealed in the past. For

   instance, Judge Puglisi found:

                The Court finds that Defendants have
                demonstrated good cause to file under seal those
                portions of the filings that contain specific terms of
                the settlement agreement or contain discussions of
                the settlement negotiations. See Phillips v. Gen.
                Motors Corp., 307 F.3d 1206, 1212 (9th Cir. 2002)
                (noting that courts have granted protective orders
                to protect confidential settlement agreements).
                Accordingly, the Court GRANTS Defendants’
                request to file under seal (1) the un-redacted
                version of the Declaration of Counsel, which
                contains at paragraph 5, a discussion of the
                confidential settlement terms; (2) Exhibits O and P
                to Defendants’ Motion for Preliminary Injunction,
                which are a term sheet and the written settlement
                agreement; and (3) the un-redacted version of the
                Memorandum in Support of Defendants' Motion
                for Preliminary Injunction, which quotes the
                written settlement agreement and discuss specific
                settlement negotiations.
   Barber I, ECF No. 286.

                Thus, sealing the record as to these documents serves

   compelling interests of encouraging settlement and ensuring that the

   expectations of the parties are protected.
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   IV.   CONCLUSION

               For the foregoing reasons, there is both good cause and

   compelling reasons to seal the documents at issue.

               DATED: Honolulu, Hawai‘i, June 21, 2018.

                                      /s/ Randall C. Whattoff
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